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                    UNITED STATES BANKRUPTCY COURT
                         DISTRICT OF CONNECTICUT
                           BRIDGEPORT DIVISION
__________________________________________
                                           :
In re                                      : Chapter 11
                                           : Jointly administered
COVERED BRIDGE NEWTOWN, LLC                : Case No. 24-50833 (JAM) (lead)
COVERED BRIDGE NEWTOWN I, LLC              :
                                           :
            Debtors                        :
                                           : May 21, 2025

   STATUS REPORT REGARDING FIRST AMENDED DISCLOSURE STATEMENT,
       REQUEST TO CONVERT HEARING ON DISCLOSURE STATEMENT
               TO STATUS CONFERENCE, AND REQUEST TO
            CONTINUE HEARING ON DISCLOSURE STATEMENT

          Covered Bridge Newtown, LLC (“CBN”) and Covered Bridge Newtown I, LLC (“CBN

I”, together with CBN, the “Debtors”), debtors and debtors-in-possession, submit this status

report regarding their first amended joint disclosure statement (ECF No. 219, the “First Amended

Disclosure Statement”). The Debtors also request that the Court convert the hearing currently

scheduled on Tuesday, May 27, 2025 at 11:00 a.m. on the First Amended Disclosure Statement (the

“DS Hearing”) to a status conference regarding the First Amended Disclosure Statement, the

objections thereto, and other various matters the Debtors would like to address with the Court.

Finally, the Debtors request that the Court continue the DS Hearing to July 16, 17, or 18, 2025. In

support thereof, the Debtors state as follows:

                                     BRIEF BACKGROUND

          1.    The Debtors filed their bankruptcy cases on December 8, 2024 (the “Petition

Date”).

          2.    The Debtors filed their disclosure statement on March 7, 2025 (ECF No. 136). A

hearing on the disclosure statement was scheduled for April 14, 2025 (ECF No. 140). Because




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the Debtors were still in discussions and negotiations with various creditors and the Official

Committee of Unsecured Creditors (the “Committee”) and thus intended to amend their

disclosure statement, they asked the Court to continue the hearing on the disclosure statement

from April 14, 2025 to a date in late May (ECF No. 161). The Court granted the Debtor’s motion

and continued the hearing on the disclosure statement to Tuesday, May 27, 2025, the current DS

Hearing date.

         3.     On April 11, 2025, the Committee commenced Adversary Proceeding No. 25-

05056 against UC Covered Bridge MF Holder, LLC (“UC Covered Bridge”) (the “Challenge

Action”). In the Committee’s complaint, it has alleged that because UC Covered Bridge did not

advance approximately $18,000,000 as a construction reserve to the Debtors at the time the UC

Covered Bridge mortgage was recorded, UC Covered Bridge’s claim in that amount should be

avoided and preserved for the benefit of the Debtors’ estates pursuant to 11 U.S.C. §§ 544(a) and

551.

         4.     On May 6, 2025, the Debtors filed the First Amended Disclosure Statement.

         5.     Four creditors filed objections to the First Amended Disclosure Statement: (i) US

LBM Operating Co. 2009 a/k/a East Haven Ridgefield Building Supply (ECF No. 231); (ii)

PACE Loan Group 2019-1, LLC (ECF No. 236); (iii) UC Covered Bridge (ECF No. 241); and

(iv) the Committee (ECF No. 242).

         6.     The Debtors have been in extensive discussions and negotiations with both UC

Covered Bridge and the Committee to try and address the issues raised in their respective

objections. The Debtors’ initial strategy was to address the various objections and file another

amended disclosure statement, wherein they would be prepared to move to a consensual

confirmation.



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         7.     Despite these lengthy and substantive discussions with UC Covered Bridge and

the Committee, the Debtors believe they are now at an impasse. Filing an amended disclosure

statement without the input and consent of either UC Covered Bridge or the Committee is

pointless. It is obvious to all parties that the Challenge Action has created an impediment to

confirmation. Without a quick resolution of the claims raised in the Challenge Action,

confirmation in these cases cannot happen.

         8.     If the Court grants this request and schedules a status conference on May 27th, the

Debtors intend to ask the Court expeditiously resolve the Challenge Action and schedule a trial

on a 60-day track. The Debtors would further recommend that the Court order the parties to

mediation to resolve the Challenge Action and, if and when appropriate, for purposes of assisting

with finalization of a plan.

         9.     Accordingly, the Debtors respectfully ask the Court to convert the DS Hearing on

May 27, 2025, to a status conference and to continue the DS Hearing to July 16, 17, or 18, 2025,

to a time that is convenient for the Court.

                                              By: /s/ Jeffrey M. Sklarz
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